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4    Attorney for Jay Sayarath
5

6                                IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                     )   Case No.: 2:06 CR 00455 WBS
9    UNITED STATES OF AMERICA,                       )
                                                     )   STIPULATION AND ORDER TO EXTEND
10                  Plaintiff,                       )   TIME FOR HEARING AND TO EXCLUDE
                                                     )   TIME
11          vs.                                      )
                                                     )
12   KHANTHY VONGSEDONE, et al,                      )
                                                     )
13                  Defendant                        )
14          The parties agree that time beginning February 2, 2009 and extending through March 2,

15   2009 should be excluded from the calculation of time under the Speedy Trial Act. (T-2 and T-4).

16   The parties submit that the ends of justice are served by the Court excluding such time, so that

17   counsel for the defendant may have reasonable time necessary for effective preparation, taking

18   into account the exercise of due diligence, and so that the defendant may have continuity of

19   counsel. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties stipulate and agree that the interests of

20   justice served by granting this continuance outweigh the best interests of the public and the

21   defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).

22          The parties further request that this matter be taken off the February 2, 2009, calendar

23   and be rescheduled to March 2, 2009 at 8:30 a.m..

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                                   STIP AND ORDER TO EXTEND TIME - 1
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1                                     Respectfully submitted,

2
     Date: 1-28-09                                  By:     /s/ Danny D. Brace, Jr.,
3                                                          DANNY D. BRACE, JR.,
                                                           Attorney for
4
                                                           Jay Sayarath
5

6    Date: 1-28-09                                  By:    /s/ Shari Rusk
                                                           Authorized to sign for Ms. Rusk
7                                                          On January 28, 2009
                                                           Shari Rusk
8                                                          Attorney for Sue Her

9
     Date:   1-28-09                                By:    /s/ Chris Haydn-Myer
10                                                         Authorized to sign for Mr. Haydn
                                                           Myer, January 28, 2009
11
                                                           Chris Haydn-Myer
12
                                                           Attorney for Khanthy Vongsedone

13   Date: 1-28-09                                  By:    /s/ J. Toney
                                                           Authorized to sign for Mr. Toney,
14                                                         on January 28, 2009
                                                           J. Toney
15                                                         Attorney for Tony Ketmany

16   Date:   1-28-09                                By:    /s/ Jill Thomas
                                                           Authorized to sign for Ms. Thomas,
17
                                                           on January 28, 2009
                                                           Jill Thomas
18
                                                           Assistant U.S. Attorney
19

20   IT IS SO ORDERED:

21   Dated: January 29, 2009

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                               STIP AND ORDER TO EXTEND TIME - 2
